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                                                                                7/7/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
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    In re:                                                 Case No. 08-14631(GMB)

    SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge: Gloria M. Burns

                    Debtors.                               Chapter: 11


                           ORDER REGARDING LETTER-MOTION OF
                            LISTON SMITH, JR., FOR STAY RELIEF
             The relief set forth on the following page, numbered two (2), is hereby ORDERED.




DATED: 7/7/2008
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 Shapes/Arch Holdings L.L.C., et al.

 Case No. 08-14631 (GMB)

 Order Regarding Letter-Motion of Liston Smith, Jr., for Stay Relief


          Upon consideration of the letter-motion of Liston Smith, Jr. (the “Motion”),1 for relief

 from the automatic stay to allow him to assist the EEOC in its investigation of Mr. Smith’s

 alleged claims before the EEOC; the Debtors’ limited objection to the Motion (the “Limited

 Objection”), and for cause shown, it is hereby ORDERED:

          1.      That automatic stay does not apply to the EEOC’s investigation of Mr. Smith’s

 claims or to Mr. Smith assisting the EEOC in that investigation, and that the EEOC investigation

 may proceed.

          2.      That if the EEOC issues a “Notice of Right to Sue Letter” or similar document,

 the automatic stay does apply to Mr. Smith attempting to proceed with a personal claim for

 recovery from the Debtors.

          3.      That if Mr. Smith determines to proceed with a personal action, he must file a

 separate motion for relief from the automatic stay for authority to proceed.




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 1
   Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to
 them in the Debtors’ Response.

                                                     2



                                                                       Approved by Judge Gloria M. Burns July 07, 2008
